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 UNITED  STATES    DISTRICT  COURT
 SOUTHERN DISTRICT OF NEW YORK
                                 x

GOVERNMENT OF THE UNITED               :
STATES VIRGIN ISLANDS,                :
                       Plaintiff,      :
                                       :
             -against-                 :
                                       :
JP MORGAN CHASE BANK, N.A.,            :
                                       :            Case No. 22-cv-10904 (JSR)
                         Defendant.    :
                                       :
                                      x




             MEMORANDUM OF LAW IN SUPPORT OF PROPOSED
         INTERVENORS’ MOTION TO INTERVENE AND DISCLOSE THE
         FILINGS TO THE LITIGANTS AND COUNSEL IN THE RELATED
               ACTION OF DOE V. USVI, ET AL, 23-CV-10301-AS
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                              PRELIMINARY STATEMENT
        Proposed Intervenors seek an Order granting them access to the unredacted filings in

this action to the parties and their counsel in accordance with the same Protective Order

entered in this action. A copy of the Proposed Protective Order is submitted as Exhibit A.

        Proposed Intervenors are Plaintiffs, proceeding anonymously, in the action Doe v.

USVI, et al., Case Number 23–CV–10301 (S.D.N.Y.) (“the Doe action”). By the Class Action

Complaint in the Doe action, Proposed Intervenors seek damages from the Defendants for

their conspiracy with Jeffrey Epstein and others and facilitation of the sex trafficking venture

that was the subjection of this action. Proposed Intervenors were victims of that enterprise.

Of note, the USVI is a Defendant in the Doe action and was the Plaintiff in this action.

                                   UNDERLYING FACTS
        The Protective Order in this action permitted the parties to deem confidential “any

information of a personal or intimate nature regarding any individual.” The same Protective
Order was entered in two other actions: Doe v. Deutsche Bank Aktiengesellschaft, 22-cv-

10018-JSR, Document 41; Doe 1 v. JP Morgan Chase & Co., 22-cv-10019-JSR Document

35. All three actions were consolidated before this Court for pretrial purposes. Exhibit B,

Order in Doe 1 v. JP Morgan Chase & Co., 22-cv-10904-JSR, Document 5.

        The Protective Order’s broad and vague language resulted in the parties shielding the
vast majority of discovery from public disclosure. Proposed Intervenors are now hamstrung

by their ability to prosecute their claims against Defendants in the Doe action, including the

USVI.

        Indeed, those Defendants are capitalizing on the lack of available evidence in the

public domain, as Plaintiffs have been served with Proposed Intervenors have been served
with four motions to dismiss in the Doe action. There, the USVI and several other Defendants

have insisted upon dismissal without the benefit of even jurisdictional discovery. Doe v.
USVI, et al., Case Number 23–CV–10301, Documents 31, 68, 72, & 78.


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       The USVI, which benefitted from the Protective Order in this action, is using it as both

a sword and a shield. When it served the USVI’s interest to consent to confidentiality, it did

so in order to prosecute claims, ostensibly on behalf of the victims of the sex trafficking
venture. In the Doe action, the USVI is now using it as a shield, by moving to dismiss on

grounds including a failure to plead with specificity. It is the height of hypocrisy for the

USVI to use the Protective Order to prevent the victims that gave the USVI standing to sue JP

Morgan and others from accessing evidence supporting their claims. Even a cursory review of

the redactions on the docket reveals that the redactions pertained to the privacy of many of the
Defendants in this action -- the government officials who benefited from the sex trafficking

scheme.

       It would also rub salt in the wounds of the real victims of the sex trafficking scheme --

Proposed Intervenors – to bar them from the evidence needed to prosecute their claims against

the other conspirators in the scheme.
       The right to anonymity of the Doe Plaintiffs in the consolidated actions before this

Court would not be impacted by the grant of this relief. For example, one of the Plaintiffs in

that case, Doe 1, opposed the New York Times recent application to unseal the entirety of the

file for public view, but that position is not incompatible with Proposed Intervenors’ position

in this case -- to maintain the confidentiality of the documents by limiting disclosure to the
parties and their counsel in Doe v. USVI.

       Plaintiffs have a unique and urgent need to review these documents. They are entitled

to access.




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                                          ARGUMENT
PROPOSED INTERVENORS ARE ENTITLED TO ACCESS TO THE CONFIDENTIAL
           FILINGS PURSUANT TO THE PROTECTIVE ORDER.
             A. Proposed Intervenors May Intervene.

          Under Rule 24(b)(2), “[o]n timely motion, the court may permit anyone to intervene
who is given a conditional right to intervene by a federal statute or has a claim or defense that

shares with the main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(2)

(cleaned up). Permissive intervention is permitted where, as here, a member of the public

seeks intervention to modify a Protective Order and inspect court documents. AT & T Corp. v.

Sprint Corp., 407 F.3d 560, 562 (2d Cir. 2005) (“[P]ermissive intervention is the proper method
for a nonparty to seek a modification of a protective order.”); see also E.E.O.C. v. Nat’l

Children’s Ctr., Inc., 146 F.3d 1042, 1045 (D.C. Cir. 1998) (collecting cases and stating,

“despite the lack of a clear fit with the literal terms of Rule 24(b), every circuit court that has

considered the question has come to the conclusion that nonparties may permissively intervene

for the purpose of challenging confidentiality orders.”).
      Here, Proposed Intervenors are seeking access to all records in this action in order to

prosecute their claims against Defendants in their action, subject to the same Protective Order

that remains in effect in this case. To balance against the privacy interests of the parties in this

action, Proposed Intervenors ask that disclosure be limited to litigants and their counsel in the
Doe action only.
          The motion is timely. “When a member of the public moves to intervene to unseal

judicial records, the motion to intervene is timely as long as the documents remain under seal

because sealing places the public’s interest in open access in controversy.” NML Capital, Ltd.

v. Republic of Arg., No. 2:14-cv-492-RFB-VCF, 2014 U.S. Dist. LEXIS 173780, at *11 (D.
Nev. Dec. 12, 2014). Here, the action was resolved with the settlement so there are no

ongoing or unknown concerns that may bar intervention in disclosure.

          Given this tailored request, there is no proper basis to deny Proposed Intervenors
access.


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             B. The Doe Plaintiffs Here Have The Same Interests As The Doe Plaintiffs In
                The Action Before This Court And Should Not Be Prevented From Using
                Discovery In This Case To Prosecute Their Claims In Their Recent Action.

        Recently, the New York Times moved for an unsealing of the entire action before this

 Court. In opposition, Doe 1 argued that victims of sexual crimes are entitled to anonymity:

       As the victim of rampant, horrific sexual abuse that has changed the course of her
       life, Jane Doe 1 is entitled to the protection of her identity despite the presumption
       of public access. See, e.g., Kemp v. Noeth, No. 20-CV-9121 (RA)(SN), 2021 WL
       1512712, at *2 (S.D.N.Y. Apr. 15, 2021) (“the privacy interest the Court must
       consider here—the identity of a sexual assault victim— is an important and
       recognized basis to limit public access to the documents in question”); Murphy v.
       Warden of Attica Corr. Facility, No. 20CV3076PAEJLC, 2020 WL 6866403, at
       *2 (S.D.N.Y. Nov. 23, 2020) (“Although a presumption in favor of public access
       exists, the basis for sealing the records at issue—protecting the identity of the
       sexual assault victim—provides a compelling Case 1:22-cv-10904-JSR Document
       353 Filed 03/12/24 Page 2 of 5 3 reason to limit such access. Indeed, it is common
       for courts in this District to grant requests for sealing orders to protect a sexual
       assault victim’s identity.”); Giuffre v. Dershowitz, No. 15 CIV. 7433 (LAP), 2020
       WL 5439623, at *2 (S.D.N.Y. Sept. 9, 2020) (finding that “the gravity of the
       privacy interests” of Epstein victims weighed heavily against public disclosure);
       Scott v. Graham, No. 16CV2372KPFJLC, 2016 WL 6804999, at *1 (S.D.N.Y.
       Nov. 17, 2016) (“Here, there is a compelling reason to limit the general public’s
       access to the documents filed in this case: safeguarding the identity of a rape
       victim.”); Kavanaugh v. Zwilling, 997 F. Supp. 2d 241, 256 (S.D.N.Y. 2014)
       (sealing records of decisions “as the decisions contain sensitive and personal
       information about the sexual abuse of minor”). 22-cv-10904-JSR, Document 353.
       Proposed Intervenors agree that they are entitled to such anonymity. However, Proposed

Intervenors’ motion will not disturb the privacy of other victims, because they seek to maintain

the confidentiality of the discovery and filings in this case in order to facilitate the prosecution

against others who facilitated Epstein’s crimes.

       Proposed Intervenors are seeking essentially a de facto consolidation of their case with

this case. As this Court will recall, this Court consolidated the within action with other actions

brought by women who were victims, just as Proposed Intervenors were, of the sex trafficking

venture. This Court therefore ordered:

       Barring any objection from plaintiff Government of the United States Virgin
       Islands, which must be made by joint telephone call to Chambers no later than


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       5:00 PM on January 4, 2023, this case is hereby consolidated for all pretrial
       purposes with Doe v. Deutsche Bank, 22- cv-10018 and Doe v. JP Morgan Chase
       & Co., 22-cv-10019. . . . Exhibit B, 22-cv-10904-JSR, Document 5.


             C. Plaintiffs Do Not Seek To Disturb The Protective Order As The USVI Was
                A Party To The Within Action And Many Defendants In The Proposed
                Intervenors Case Or Nonparty Witnesses In The Within Matter.
       The USVI is in possession of all of the filings in this case and so can hardly oppose an

order which places Proposed Intervenors on the same footing as them. Further, the remaining

Defendants in the Proposed Intervenors’ case were nonparty witnesses in this action. They have

received the benefits of confidentiality and would continue to do so in this case.




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                                        CONCLUSION

        The privacy interests implicated by the Protective Order are not harmed or threatened
 by this application. This action arises out of the same events and is based on the actions of the

 same parties and nonparties with the exception of the witnesses from the banking industry

 who may be nonparties in this action. Notwithstanding, if the Protective Order is continued

 but expanded to apply to the parties in the Doe v. USVI action, the victims of the horrible

 crimes will be permitted to seek redress using hard-won discovery from the earlier actions.
Dated: April 3, 2024
     New York, New York
                                                     Respectfully submitted,

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